         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR43


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )             ORDER
                                        )
                                        )
ROBERT BLAKE KELLER                     )
                                        )


     THIS MATTER is before the Court on motion of Defendant’s

appellate counsel for an order releasing copies of the Defendant’s

presentence report and any objections or addendums filed therewith.

     For the reasons set forth in the motion,

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Defendant’s presentence report and related documents is ALLOWED.

The United States Probation Office is hereby authorized to make available

these documents to appellate counsel forthwith.




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                                Signed: November 17, 2008




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